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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                    Case No.: 8:24-mj-1028-AAS

 ALEXANDER LIGHTNER
                                       /

                   ORDER OF DETENTION PENDING TRIAL

       THIS MATTER is before the court on the Government’s motion to detain

 Defendant pursuant to 18 U.S.C. § 3142(f)(1)(E). In accordance with the Bail

 Reform Act, 18 U.S.C. § 3142(f), a bail hearing has been held. This court concludes

 that the following facts require the detention of Defendant, Alexander Lightner,

 pending further order of the court.

       Defendant is charged in a Complaint with transmitting a threat to injure in

 interstate or foreign commerce, in violation of 18 U.S.C. § 875(c) and possession of

 an unregistered firearm silencer, in violation of 26 U.S.C. § 5861(d).          The

 Government seeks detention on grounds that Defendant is a risk of flight and danger

 to the community. Upon consideration, for the reasons stated on the record at the

 hearing and based on the factors under 18 U.S.C. § 3142(g), to specifically include

 the nature and circumstances of the case, the weight of the evidence against

 Defendant, and the history and characteristics of Defendant, the court finds that

 Defendant should be detained pending the final outcome of this case. Specifically,

 the evidence against Defendant in this case is strong and involves serious, violent
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 conduct. Defendant allegedly admitted to law enforcement that he posted threats

 concerning his plan to conduct a racially or ethnically motived mass casualty event.

 In the posts, according to the Government, Defendant allegedly used language

 associated with “white supremacist[s]” and paraphernalia concerning the ideology

 was located in Defendant’s bedroom. The Government also executed a search

 warrant at Defendant’s home and located multiple firearms and ammunition in

 Defendant’s bedroom. The Government maintains that the ammunition includes the

 .308 black tip ammunition which Defendant allegedly referred to in his internet post.

 The Government also located a silencer in Defendant’s bedroom which he allegedly

 admitted making.      Additionally, Defendant’s background and history weighs

 towards detention. Defendant tested positive for the use of cocaine upon arrest, has

 prior convictions for reckless driving with damage and causing damage to property,

 and previously violated conditions of probation. Given the foregoing, the court finds

 that there are no conditions or combination of conditions available that would help

 assure the safety of the public and Defendant’s future appearance in court. The

 Government has met its burden of establishing by clear and convincing evidence that

 no conditions are available to reasonably assure the safety of the community. See

 United States v. King, 849 F.2d 485, 488 (11th Cir. 1988). The Government has also

 met its burden of establishing by a preponderance of the evidence that no conditions

 are available to ensure Defendant’s future appearance at trial. See King, 849 F.2d at

 489. Therefore, it is hereby ORDERED that Defendant be DETAINED.



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       Defendant is committed to the custody of the Attorney General or his

 designated representative for confinement in a corrections facility separate, to the

 extent practicable, from persons awaiting or serving sentences or being held in

 custody pending appeal. Defendant shall be afforded a reasonable opportunity for

 private consultation with counsel. On order of a court of the United States or on

 request of an attorney for the Government, the person in charge of the corrections

 facility in which Defendant is confined shall deliver Defendant to a United States

 marshal for the purpose of an appearance in connection with a court proceeding.

       ORDERED in Tampa, Florida, on January 9, 2024.




 Copies furnished to:
 Counsel of Record
 United States Pretrial Services
 United States Marshals Service




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